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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Robert M. Schumann, et al.
                                      Plaintiff,
v.                                                     Case No.: 1:16−cv−05994
                                                       Honorable Ronald A. Guzman
BIT Media Group LLC., et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 3, 2017:


       MINUTE entry before the Honorable Ronald A. Guzman: Plaintiff's motion for
dismissal of the claims of Robert M. Schumann with prejudice [42] is granted. Case is
dismissed with prejudice. Any pending motions or schedules are stricken as moot. Motion
hearing set for 1/3/2017 is stricken and no appearance is required. Civil case terminated.
Mailed notice(is, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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